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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

NICOLE L. HANTZ,                           )
f/k/a NICOLE OLDHAM,                       )
                                           )
       Plaintiff,                          )
                                           )
       v.                                  )        C.A. No. 21-801-RGA
                                           )
DIVISION OF STATE POLICE,                  )
DEPARTMENT OF SAFETY &                     )
HOMELAND SECURITY,                         )
STATE OF DELAWARE,                         )
                                           )
               Defendant.                  )

                              SUBSTITUTION OF COUNSEL

       PLEASE TAKE NOTICE that Deputy Attorney General Kenneth L. Wan hereby

withdraws his appearance as attorney for Defendant Division of State of Police, Department of

Safety & Homeland Security, State of Delaware in the above-captioned matter and that Deputy

Attorney General Victoria R. Sweeney enters her appearance on behalf of Defendant Division of

State of Police, Department of Safety & Homeland Security, State of Delaware.


 STATE OF DELAWARE                             STATE OF DELAWARE
 DEPARTMENT OF JUSTICE                         DEPARTMENT OF JUSTICE

 /s/ Kenneth L. Wan                            /s/ Victoria R. Sweeney
 Kenneth L. Wan, ID #5667                      Victoria R. Sweeney, ID #6586
 Deputy Attorney General                       Deputy Attorney General
 Carvel State Office Building                  Carvel State Office Building
 820 North French Street, 6th Fl.              820 North French Street, 6th Fl.
 Wilmington, Delaware 19801                    Wilmington, Delaware 19801
 (302) 577-8400                                (302) 577-8400


DATED: May 13, 2022
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on May 13, 2022, she caused a true and correct copy of the

attached Substitution of Counsel to be filed with the Clerk of Court using CM/ECF.




                                                   STATE OF DELAWARE
                                                   DEPARTMENT OF JUSTICE

                                                   /s/ Victoria R. Sweeney
                                                   Victoria R. Sweeney (#6586)
